   Case 1:21-cv-00502-MN Document 3 Filed 04/16/21 Page 1 of 1 PageID #: 17


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE

 ESTHER KOGUS,

        Plaintiff,

                v.                                 Civil Action No. 1:21-cv-00502-MN

 FIVE PRIME THERAPEUTICS, INC.,
 WILLIAM R. RINGO, FRANKLIN M.
 BERGER, KAPIL DHINGRA, PEDER K.
 JENSEN, GARRY NICHOLSON, CAROL
 SCHAFER, LORI LYONS-WILLIAMS, and
 THOMAS CIVIK,

        Defendants.

                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff hereby voluntarily dismisses the above-captioned action (the “Action”). Defendants have

filed neither an answer nor a motion for summary judgment in the Action.

 Dated: April 16, 2021                              RIGRODSKY LAW, P.A.

                                               By: /s/ Gina M. Serra
                                                   Seth D. Rigrodsky (#3147)
                                                   Gina M. Serra (#5387)
                                                   Herbert W. Mondros (#3308)
                                                   300 Delaware Avenue, Suite 210
                                                   Wilmington, DE 19801
                                                   Telephone: (302) 295-5310
                                                   Facsimile: (302) 654-7530
                                                   Email: sdr@rl-legal.com
                                                   Email: gms@rl-legal.com
                                                   Email: hwm@rl-legal.com

                                                    C.O. LAW, APC
                                                    Clark Ovruchesky
                                                    2404 Broadway, Suite 150
                                                    San Diego, CA 92102
                                                    Telephone: (619) 356-8960
                                                    Email: co@colawcalifornia.com

                                                    Attorneys for Plaintiff
